     Case 3:21-cv-00097-JAG Document 9 Filed 06/24/21 Page 1 of 3 PageID# 32




                        UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division

SANDRA BARNETT,

                      Plaintiff,

v.                                           Civil Action No. 3:21-cv-97

CAPITAL ONE BANK (USA), N.A.,

                      Defendants.


                                   STIPULATION OF DISMISSAL

        COMES NOW, the Plaintiff, Sandra Barnett, by counsel, together with Capital One Bank

(USA), N.A., by counsel and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) hereby STIPULATE to

dismissal of the action with prejudice. The court shall retain jurisdiction for purposes of

enforcement of the settlement pursuant to Kokkonen v. Guardian Life Ins., 511 U.S. 375 (1994).

        It is so STIPULATED.

                                            Respectfully submitted,
                                            SANDRA BARNETT,

                                            By:/s/John D. Sadler____________________
                                            John D. Sadler (VA Bar No. 80026)
                                            BALLARD SPAHR LLP
                                            1909 K. Street, 12th Floor
                                            Washington, DC 20006-1157
                                            (202) 661-7659 – Telephone
                                            (202) 661-2299 – Facsimile
                                            E-mail: sadlerj@ballardspahr.com
                                            Counsel for Defendant


                                            By:/s/Susan Rotkis_______________
                                            Susan Rotkis (VSB #40693)
                                            PRICE LAW GROUP, APC
                                            382 S. Convent Ave.
                                            Tucson, Arizona 85701
                                            Telephone: (818) 600-5506


                                               1
Case 3:21-cv-00097-JAG Document 9 Filed 06/24/21 Page 2 of 3 PageID# 33




                                Facsimile: (818) 600-5406
                                Email: susan@pricelawgroup.com
                                Counsel for Plaintiff




                                   2
   Case 3:21-cv-00097-JAG Document 9 Filed 06/24/21 Page 3 of 3 PageID# 34




                                CERTIFICATE OF SERVICE


       I hereby certify that on June 24, 2021 I electronically filed the foregoing with the Clerk

of the Court using the ECF system, which will send notice of such filing to all attorneys of

record in this matter.

                                             /s/Susan Rotkis_______________
                                             Susan Rotkis
                                             VSB #40693
                                             PRICE LAW GROUP, APC
                                             382 S. Convent Ave.
                                             Tucson, Arizona 85701
                                             Telephone: (818) 600-5506
                                             Facsimile: (818) 600-5406
                                             Email: susan@pricelawgroup.com
                                             Counsel for Plaintiff




                                                 3
